    

Case 1: L18-cr- 00401-BLW Document 194-1 Filed 10/09/19 Page 1 of 1

 

INVESTIGATIVE AGENT:

AGENCY:

DEFENDANT’S NAME:

DEFENSE ATTORNEY:
Address:

Telephone No.:

Telephone No.:

Steven Todd Thompson

Craig H. Durham

223 N. 6" Street, Suite 325
Boise, ID 83702

208) 345-5183 ISSUE: Y
208) gs, COURTS es
Ron Shackle OCT} 09 20I9INTERPRETER: No
(208) 573-5905 dent vTanguage:

Alcohol, Tobacco,
Firearms and Explo¥ Cents

eve —— .
seen CT OF IDAHO

JUVENILE: No

PUBLIC or SEALED: Public

SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))

 

and US v. Dustin Dalos

CASE INFORMATION: Related to US v Roberts et al, US
v. Brian Hansen, US v. Jimmy Thorpe, US v. Dillon Boyd,

RELATED COMPLAINT: Yes
CASE NUMBER: 1:18-CR-401-EJL

 

 

 

 

CHARGING DOCUMENT:
Felony:
Class A Misdemeanor:

_ Class B or C Misdemeanor:
(Petty Offense)

 

    
    

   

Third Superseding Indictment

Yes County of Offense: Twin Falls
No Estimated Trial Time: 1 week
No

 

 

 

 

     

 

 

 

 

 

21 U.S.C, §§ 841(a)(1), Conspiracy to Distribute | Up to 20 years in prison; up
(b)(1)(C), and 846 Methamphetamine to $1,000,000 fine; at least 3
years of supervised release;
$100 special assessment
21 U.S.C. § 841(a)(1) and TWO Aiding and Abetting the | Up to 20 years in prison; up
(b)(1)(C); 18 U.S.C. §2 > Possession of to $1,000,000 fine; at least 3
Methamphetamine with | years of supervised release;
the Intent to Distribute {$100 special assessment
21 U.S.C. § 841(a)(1) and THREE Possession of A minimum of 5 years and
(b)(1)(B) Methamphetamine with |up to 40 years
the Intent to Distribute | imprisonment; at least 4
years supervised release; up
to $5,000,000 fine; $100
special assessment
21 U.S.C. § 853 DRUG Drug Forfeiture Forfeiture of Listed
FORFEITURE Property
ALLEGATION

 

 

 

 

Date:

October 8, 2019

Assistant U.S.

Telephone No.:

Attorney: CHRISTOPHER S. ATWOOD p+
(208) 334-1211 LIN

 
